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Attorney for Plaintiffs


                                 UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF OREGON
                                        EUGENE DIVISION

Sabrina Siegel                                   Case No.: 6:24-cv-790

                          Plaintiffs,

       v.                                        VERIFIED COMPLAINT FOR
                                                 INJUNCTIVE RELIEF AND
Eugene Water & Electric Board, Frank             DAMAGES
Lawson, in his personal capacity,

                          Defendants.
                                                 Demand for Jury Trial
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                                           COMPLAINT

       NOW COMES, Plaintiff Sabrina Siegel, through undersigned counsel, who states as

follows:

                                                 PARTIES

       1.      Sabrina Siegel is a single mother who lives at 2445 Kincaid Street, Eugene,

Oregon 97405. She is a person with a disability. She has electromagnetic hypersensitivity

(“EHS”) which causes her cardiac and other symptoms when exposed to electromagnetic

radiation (“EMR”) from smart meters and other digital devices. Siegel has been a customer of

EWEB for 20 years and is current on her bill.

       2.      Defendant Eugene Water & Electric Board (“EWEB”) provides electricity and

waters in the Eugene metropolitan area to about 200,000 people. EWEB is on a campaign to

install smart meters for all of its customers.

       3.      Frank Lawson (“Lawson”) is the General Manager of EWEB. Lawson sued in his

personal capacity.

                                          JURISDICTION

       4.      Siegel’s claim arises under federal civil rights laws. This Court has jurisdiction

over Siegel’s claims of federal rights violations under the Americans With Disabilities

Amendments Act, 42 U.S. Code § 12101 et seq.; the Rehabilitation Act of 1973 as Amended, 29

U.S.C. § 701 et seq.; and the Fair Housing Amendments Act, 42 U.S.C. § 3601 et seq.; which are

enforceable in this Court pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3). The events giving rise to

the claim occurred in Eugene, Oregon.




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                                              FACTS

         5.      Siegel has been diagnosed with electromagnetic hypersensitivity (“EHS”).1

         6.      EHS has been demonstrated in a published, peer-reviewed, double blind research

study as a bona-fide neurological syndrome.2

         7.      Siegel’s disability causes her a myriad of symptoms. Siegel consistently gets

cardiac and other symptoms when exposed to smart meter radiation. When exposed to EMR:

Siegel cannot breathe well; she becomes unable to think or function well; she gets headaches;

she feels pain in her heart and kidneys; and/or she feels nauseous. When afflicted with these

symptoms, she cannot properly care for herself, perform manual tasks, breathe, or work.

         8.      Siegel’s doctor says that she should not be exposed to any excess radiation in her

home.3 Siegel’s doctor’s prescription is that Siegel should not receive a smart meter on her

home.4

         9.      Siegel has an existing analog meter that does not harm her with electromagnetic

radiation (“EMR”).

         10.     Smart meters are digital devices that emit radio frequency radiation (“RF-EMF”)

for the purpose of transmitting information many times a day, perhaps thousands of times a day.

         11.     Smart meters also emit powerful EMR in lower frequencies ranges, including

dirty electricity, even when the transmitting feature is turned off.




1
  Joncus Decl. Ex. 1.
2
  E.g. David E. McCarty, et al, Electromagnetic hypersensitivity: evidence for a novel
neurological syndrome, The International Journal of Neuroscience, 121(12), 670-76,
https://pubmed.ncbi.nlm.nih.gov/21793784/ (Sept. 5, 2011).
3
  Joncus Decl. Ex. 1.
4
  Joncus Decl. Ex. 1.

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       12.     EWEB has sent Siegel several notices of increasing ominousness, threatening to

turn off her electricity unless she agrees to have a smart meter installed on her home.

       13.     Siegel wrote an email to Lawson on March 12, 2024 explaining how she was

disabled by radio frequency, electromagnetic fields, and dirty electricity. EWEB responded by

saying that they could not make that accommodation.

       14.     On behalf of Siegel, I wrote to EWEB’s attorney, Eric DeFreest, on April 5, 2024

explaining Siegel’s disability and requesting an accommodation of no smart meter.5

       15.     DeFreest responded on April 19, 2024 denying the requested accommodation.6

       16.     On behalf of Siegel, I wrote to DeFreest on May 9, 2024, explaining the

deficiencies in his analysis of Siegel’s accommodation request.7

       17.     DeFreest has not yet responded to the May 9, 2024 letter.

       18.     However, on Friday, May 10, 2024, EWEB sent an email to the undersigned

attorney, disclosing that unless, Ms. Siegel agrees to a smart meter by close of business on May

13, 2024, EWEB will disconnect her power.8

       19.     Siegel will not and cannot accept a smart meter on her home whether or not the

communication feature is turned off.




5
  Joncus Decl. Ex. 2.
6
  Joncus Decl. Ex. 3.
7
  Joncus Decl. Ex. 4.
8
  Joncus Decl. Ex. 5.

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                                       CAUSES OF ACTION

                                              CLAIM 1

         FAILURE TO ACCOMMODATE UNDER THE FAIR HOUSING AMENDMENTS ACT

       20.       The FHAA provides Siegel with a private right of action. 42 USC § 3613(a)(1).

There is no requirement under the FHAA to exhaust administrative remedies. 42 USC §

3613(a)(2).

       21.       The FHAA prohibits discrimination against any person “in the provision of

services or facilities in connection with [a] dwelling” on the basis of a handicap. 42 USC §

3604(f)(2).

       22.       Discrimination is defined as a refusal “a refusal to make reasonable

accommodations in rules, policies, practices, or services, when such accommodations may be

necessary to afford such person equal opportunity to use and enjoy a dwelling.” 42 USC §

3604(f)(3)(B).

       23.       Siegel has a handicap that affects one or more of her major life activities. See 42

USC § 3602(h); 24 CFR § 100.201.

       24.       Defendants knew of Siegel’s handicap.

       25.       Accommodation of Siegel’s handicap is necessary to afford Siegel an equal

opportunity to use and enjoy the dwelling. Siegel’s requested accommodation to keep the analog

meter already serving her home is reasonable on its face.

       26.       Allowing Siegel to keep her analog meter would not cause undue hardship on

Defendants.

       27.       Defendants refused to make the necessary accommodation.




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                                    DEMAND FOR JURY TRIAL

        28.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs respectfully demand

a jury trial of all issues triable to a jury in this action.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

        A.      A temporary restraining order, preliminary injunction, and permanent injunction

against Defendants;

        C.      A judgment of damages against Defendants;

        D.      A judgment of punitive damages against Defendants;

        E.      Attorney’s fees and

        F.      Such other and further relief that the Court deems just.


                                                           Respectfully submitted,

    Dated: May 14, 2024                           By:      s/ Stephen J. Joncus
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